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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     November 5, 2020

                                                                        The hearing is adjourned until January 7,
BY ECF                                                                  2021 at 10 am. Time is excluded in the
                                                                        interest of justice.
The Honorable Alvin K. Hellerstein
United States District Court
                                                                        So ordered,
Southern District of New York
                                                                        /s/
500 Pearl Street
New York, New York 10007                                                Alvin K. Hellerstein
                                                                        11/6/2020
       Re:     United States v. David Hu, 20 Cr. 360 (AKH)

Dear Judge Hellerstein:

        The Government writes on behalf of both parties in the above-captioned matter in
connection with the plea proceeding currently scheduled for November 12, 2020. The defendant,
David Hu, requests that the plea proceeding be adjourned for approximately 60 days in hopes that
appearing in person at that time will carry less risk of exposure to COVID-19. While the
Government is prepared to proceed in person on the current schedule, the Government does not
object to the defendant’s request in light of the following understanding between the parties: The
defendant and defense counsel have agreed that although there is a possibility that the COVID-19
risk will be at least the same in 60 days, the defendant will not seek a further adjournment of the
plea date. The defendant further consents that if the plea cannot, for some reason, be conducted
in person at that time, it can proceed remotely.

       In addition, the Government respectfully requests, with the consent of the defendant, that
the Court exclude time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), from today through
the date the Court sets for the plea proceeding, to allow the defendant to enter a plea. The
Government respectfully submits that the ends of justice served by the granting of the requested
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Honorable Alvin K. Hellerstein
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continuance outweigh the best interests of the public and the defendant in a speedy trial.

                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             Acting United States Attorney

                                       By:   /s
                                             Drew Skinner / Negar Tekeei / Alex Rossmiller
                                             Assistant United States Attorneys
                                             (212) 637-1587

cc:    Counsel for David Hu (by ECF)
